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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :    Case No. 1:22-cr-110 (RC)
       v.                                      :
                                               :
MATTHEW THOMAS KROL                            :
                                               :
               Defendant.                      :


                       OPPOSITION TO DEFENDANT’S MOTION
                     FOR TEMPORARY RELEASE FROM CUSTUDY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes the defendant’s Motion for Temporary Release from

Custody (Filed Under Seal).

       1.      The defendant was detained after his arrest on February 22, 2022 and a detention

hearing in the Eastern District of Michigan.

       2.      On September 13, 2022, the defendant filed a motion to reopen the detention

hearing based primary on the defendant’s health conditions. ECF 24-25. The motion was denied

by this Court on November 15, 2022. ECF 30-31.

       3.      Shortly before the defendant plead guilty on August 15, 2023, the defendant filed a

motion for temporary release from custody. The motion was filed under seal due to the private

health information contained in the motion.

       4.      The government has received a copy of the motion for temporary release directly

from counsel, but there is no indication that the motion was filed from viewing the public docket.

Further, the undersigned attorney has yet to receive any medical evidence to support the

defendant’s claims concerning his health conditions. Nevertheless, the government will file this
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response to protect the record.

       5.      The government opposes the defendant’s request for temporary release. The request

to have the defendant temporarily released to the care of his own physician is wholly

unsubstantiated by the motion and the record. However, the government does not oppose the

alternative request for an expedited sentencing hearing.


                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar Number 481052

                                                By: /s/ Andrew J. Tessman
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